Case 1:24-cv-05766-DEH-RFT   Document 13-2   Filed 12/18/24   Page 1 of 2




                   EXHIBIT B
               Case 1:24-cv-05766-DEH-RFT                                                                                                                                                                     Document 13-2                                                                                           Filed 12/18/24                                                                                    Page 2 of 2


From:                     Microsoft Outlook
To:                       info@inhalecannabisclub.com
Subject:                  Undeliverable: Service on Order to Show Cause
Date:                     Thursday, December 12, 2024 2:47:47 PM
Attachments:              Service on Order to Show Cause.msg

<https://products.office.com/en-us/CMSImages/Office365Logo_Orange.png?version=b8d100a9-0a8b-8e6a-88e1-ef488fee0470>
Your message to info@inhalecannabisclub.com couldn't be delivered.

info wasn't found at inhalecannabisclub.com.

mitch Office 365 info
Action Required Recipient

Unknown To address

How to Fix It
The address may be misspelled or may not exist. Try one or more of the following:
* Send the message again following these steps: In Outlook, open this non-delivery report (NDR) and choose Send Again from the Report ribbon. In Outlook on the web, select this NDR, then select the link "To send this message again, click here." Then delete and retype the entire recipient address. If prompted with an Auto-Complete List suggestion don't select it. After typing the complete address, click Send.
* Contact the recipient (by phone, for example) to check that the address exists and is correct.
* The recipient may have set up email forwarding to an incorrect address. Ask them to check that any forwarding they've set up is working correctly.
* Clear the recipient Auto-Complete List in Outlook or Outlook on the web by following the steps in this article: Fix email delivery issues for error code 5.1.1 in Office 365 <https://go.microsoft.com/fwlink/?LinkId=389363> , and then send the message again. Retype the entire recipient address before selecting Send.
If the problem continues, forward this message to your email admin. If you're an email admin, refer to the More Info for Email Admins section below.
Was this helpful? Send feedback to Microsoft <https://go.microsoft.com/fwlink/?LinkId=525920> .
________________________________

More Info for Email Admins
Status code: 550 5.1.1
This error occurs because the sender sent a message to an email address outside of Office 365, but the address is incorrect or doesn't exist at the destination domain. The error is reported by the recipient domain's email server, but most often it must be fixed by the person who sent the message. If the steps in the How to Fix It section above don't fix the problem, and you're the email admin for the recipient, try one or more of the following:
The email address exists and is correct - Confirm that the recipient address exists, is correct, and is accepting messages.
Synchronize your directories - If you have a hybrid environment and are using directory synchronization make sure the recipient's email address is synced correctly in both Office 365 and in your on-premises directory.
Errant forwarding rule - Check for forwarding rules that aren't behaving as expected. Forwarding can be set up by an admin via mail flow rules or mailbox forwarding address settings, or by the recipient via the Inbox Rules feature.
Mail flow settings and MX records are not correct - Misconfigured mail flow or MX record settings can cause this error. Check your Office 365 mail flow settings to make sure your domain and any mail flow connectors are set up correctly. Also, work with your domain registrar to make sure the MX records for your domain are configured correctly.
For more information and additional tips to fix this issue, see Fix email delivery issues for error code 550 5.1.1 in Office 365 <https://go.microsoft.com/fwlink/?LinkId=389363> .

Original Message Details
Created Date: 12/12/2024 7:47:37 PM
Sender Address: mitch@employeejustice.com
Recipient Address: info@inhalecannabisclub.com
Subject: Service on Order to Show Cause
Error Details
Error: 550-5.1.1 The email account that you tried to reach does not exist. Please try 550-5.1.1 double-checking the recipient's email address for typos or 550-5.1.1 unnecessary spaces. For more information, go to 550 5.1.1 https://support.google.com/mail/?p=NoSuchUser 41be03b00d2f7-7fd157ea6c4si16318298a12.711 - gsmtp
Message rejected by: mx.google.com
Notification Details
Sent by: CO6PR13MB6029.namprd13.prod.outlook.com
Message Hops
HOP TIME (UTC) FROM TO WITH RELAY TIME
1 12/12/2024
7:47:37 PM PH0PR13MB5447.namprd13.prod.outlook.com PH0PR13MB5447.namprd13.prod.outlook.com mapi *
2 12/12/2024
7:47:37 PM PH0PR13MB5447.namprd13.prod.outlook.com CO6PR13MB6029.namprd13.prod.outlook.com Microsoft SMTP Server (version=TLS1_2, cipher=TLS_ECDHE_RSA_WITH_AES_256_GCM_SHA384) *
Original Message Headers
ARC-Seal: i=1; a=rsa-sha256; s=arcselector10001; d=microsoft.com; cv=none;
 b=E+I0ph2nZWF67AcqOftIi/J647Qkr5txZK7mNJgLTijCGrVtnrBDaW7XbmOYVzrSOsAEUVV6MaMzOiWallMsZZkegaxuVOmPQZRGizWCPAkf1vkWk6uky/pmxjV/ze7SNheHppJdOPsP0tjODHob8NFi9eTViBgYGwZG6uVyQ9xDPGFj+Lsm5xeV3EMiRFfFoIRlIW6RXHICHBR56ibdDKiWIES6xJFcAQbIAK2wjkWdgXNHlABrX7iuqY6XAzFrlcWOU4/s49oNPNXXdZQ9Hd87+E094Vi6/9jan0OaZztxrhYHcCyQgtWrBaHagtgcXKRm4amKDMhKZqA5NhVIKA==
ARC-Message-Signature: i=1; a=rsa-sha256; c=relaxed/relaxed; d=microsoft.com;
 s=arcselector10001;
 h=From:Date:Subject:Message-ID:Content-Type:MIME-Version:X-MS-Exchange-AntiSpam-MessageData-ChunkCount:X-MS-Exchange-AntiSpam-MessageData-0:X-MS-Exchange-AntiSpam-MessageData-1;
 bh=VAnJWe55ivgHJdBGdYsqndS+0ZFEqPuztjS5OwAaFZU=;
 b=kRXl+5Kdir/p4Q+znwM013YwTQYBqYNCfP6HcLVzHu1X5Ij8DgCeqrwwVZhUlzGdm95rAI9EiSl+2tPHLh6zveftWlbi2TcjYglmzgP2n/uyZdmYhEgUxKZCi5vzWnTFkTTx9rLkwINUFlkDIpBfHcUY1BqGXjswJnyoQrV1AAcZVO+GC/QFCSxTTZNaPbIbsLsSLAXnSyZEVGOeMcXbNY1wnhXgyAjn+isXFT2f+DyamlC68AN/5krcNILEtefewauMx6Ng9YOQgA7iCQO+eCCYYsFK1D/inK/bDgPoubDf2xnapcqIgZ1OoLuPMJDK5FUfxT2Z8jvrxxhdax+uzg==
ARC-Authentication-Results: i=1; mx.microsoft.com 1; spf=pass
 smtp.mailfrom=employeejustice.com; dmarc=pass action=none
 header.from=employeejustice.com; dkim=pass header.d=employeejustice.com;
 arc=none
DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed;
 d=norinsberglaw.onmicrosoft.com; s=selector1-norinsberglaw-onmicrosoft-com;
 h=From:Date:Subject:Message-ID:Content-Type:MIME-Version:X-MS-Exchange-SenderADCheck;
 bh=VAnJWe55ivgHJdBGdYsqndS+0ZFEqPuztjS5OwAaFZU=;
 b=JDS4pzrQEuusek3/zl0u+8WN45ZPeAS4aMyv9T6Zl6Rh0uisvHNjPTzTMdDYtVt2hmM0cGdJViR/Bd7s70lDEkwKNrxOe4pjGyZFw3hAoKNFlgSZicNASuzyxWT87S/YJmFyJsWy167TU1ZYCv/mQG7e1+DhOT2Jpz6JoDT9PQY=
Received: from PH0PR13MB5447.namprd13.prod.outlook.com (2603:10b6:510:12a::20)
 by CO6PR13MB6029.namprd13.prod.outlook.com (2603:10b6:303:140::9) with
 Microsoft SMTP Server (version=TLS1_2,
 cipher=TLS_ECDHE_RSA_WITH_AES_256_GCM_SHA384) id 15.20.8251.16; Thu, 12 Dec
 2024 19:47:37 +0000
Received: from PH0PR13MB5447.namprd13.prod.outlook.com
 ([fe80::e28f:7e78:3bf2:2069]) by PH0PR13MB5447.namprd13.prod.outlook.com
 ([fe80::e28f:7e78:3bf2:2069%7]) with mapi id 15.20.8251.008; Thu, 12 Dec 2024
 19:47:37 +0000
From: Mitch Pomerance <mitch@employeejustice.com>
To: "info@inhalecannabisclub.com" <info@inhalecannabisclub.com>
CC: Jon Norinsberg <jon@norinsberglaw.com>, Bennitta Joseph
 <bennitta@employeejustice.com>
Subject: Service on Order to Show Cause
Thread-Topic: Service on Order to Show Cause
Thread-Index: AdtMyaUj7yrUIFteQdWAgRr4WANuQw==
Date: Thu, 12 Dec 2024 19:47:37 +0000
Message-ID: <PH0PR13MB54470656266F17F7304D9BE4BB3F2@PH0PR13MB5447.namprd13.prod.outlook.com>
Accept-Language: en-US
Content-Language: en-US
X-MS-Has-Attach: yes
X-MS-TNEF-Correlator:
authentication-results: dkim=none (message not signed)
 header.d=none;dmarc=none action=none header.from=employeejustice.com;
x-ms-publictraffictype: Email
x-ms-traffictypediagnostic: PH0PR13MB5447:EE_|CO6PR13MB6029:EE_
x-ms-office365-filtering-correlation-id: 76688deb-5f52-4a57-8348-08dd1ae5d4a4
x-ms-exchange-senderadcheck: 1
x-ms-exchange-antispam-relay: 0
x-microsoft-antispam: BCL:0;ARA:13230040|1800799024|366016|376014|10070799003|8096899003|38070700018;
x-microsoft-antispam-message-info: =?us-ascii?Q?954n+s9FlcBLC0yP/W+d/jJgyx6pbo23+ax2WuoopxamnhTJrZTk4B5H5ZAq?=
 =?us-ascii?Q?xEAwH0agPEc81/3N1TSSWXA4/hyFQPc0e33alfk3R47v6AlRyR+aV8+mo9i4?=
 =?us-ascii?Q?tjdrPa1DLTRboeNOKY1ZCj7cU/IYoJEHyb8SLS+YrPkY/Gff47gbAXmbYiMw?=
 =?us-ascii?Q?zh4TLY7heDCjp/VhVNSEdI/FLWJdu1tq+pjpebPv+AV3t7bRO4ZSzxuHeMgB?=
 =?us-ascii?Q?xS9QBKNgTdrhdbfxssJKx5rIyrlmqDaDO6sO7fXDEfCeTff8MnVo+DO6ACh/?=
 =?us-ascii?Q?9AGxeh5/YF3C6BnG8tWm6dF4mQDboBsyWHQFRnorvamgq4f/IHjOLjN28xcD?=
 =?us-ascii?Q?JRV7Vw+d6WYO1CAn2N/v7hlBSibP+nSHL+LqalzGDlcBAQr1yRSic198Q0Lk?=
 =?us-ascii?Q?Dpt9KB5PL0vg30lNh38mpJpb9mIvy6Sx08iLLgIO1Zi0BZSzJjPEoE6yFAxF?=
 =?us-ascii?Q?LkizVWqsa/11/24BwqLEOdtn3qTmkqMCH6mEE3V95OahVaRDjIqx8UzCp+YC?=
 =?us-ascii?Q?v2QNA/x27IKDQ962Zvzt/mFM3eoPLt01i9PzsM8Bv/1H8+FJNM7WTWhnmr9o?=
 =?us-ascii?Q?aFhILiwkIxuQfXjf6qCU7fawDUR6gbJVVoR2GNjjCZRHulGaHU4CG4nPdrBL?=
 =?us-ascii?Q?HXLf9WGkN31nkfnh45ClwFrNeAwJi/j8oBmo4BIfENtqhsKDtEZDVANuP+0t?=
 =?us-ascii?Q?gAtM4Cvq1Ayz/U/C4ZgHMM/pbifWhk4NvDEh+yGSu9uQVlfSXFtoYTZTj39i?=
 =?us-ascii?Q?Pb/P7loJkI6bqqLoSpBFZRvaLtqz68lHA4UrwhmegGg/+/GxKermdiDnUK3D?=
 =?us-ascii?Q?LpD52ApXu9QoNkf/34Ch7pCvQVqAU76+LxUgz5ez/2vrHmYYHhrQm3WmEiFS?=
 =?us-ascii?Q?KiQGtAOvEXmH2cC+VyxSOlQAcQwp5d7uWWT1hO3iFoO8wA6HwOFzlvAy9Mv0?=
 =?us-ascii?Q?cH+x+YbtuFxcAInq+X9VlF3mIrIivJSvSA4koLGgeJUfpBXRuspfhdjkZc41?=
 =?us-ascii?Q?bHXcvfiDh31lxXYM0qSRq2gNIX1759jG6POR4RrMRNaZyU/kmnbnOXlXXOmG?=
 =?us-ascii?Q?2SU4b+DlBShhlUtdwn0DxV0zn82MYxPUfI2sOUetQ3v1bsXzAD9H2W++SSBq?=
 =?us-ascii?Q?Ny0TBmSV160jfSCBn8RElodbiFlpBAaM3iKDZLaT+MTY7MMN3b61zGQrDb3Q?=
 =?us-ascii?Q?8oc5k/9QWvhzvvip8/+GkJBtVyCXAnbHTFR2rzMRKRpqROJboT2IgJAdSC3w?=
 =?us-ascii?Q?/nLDglsevY8DFNb+OrfcqG9+Pu+qdwR1PB4SUHfio7iXg/GYS64hfe0hEVU/?=
 =?us-ascii?Q?WTkHEevmukQSb/Brf5iYKT11t46VXFeYeROviU/iXYd8mw=3D=3D?=
x-forefront-antispam-report: CIP:255.255.255.255;CTRY:;LANG:en;SCL:1;SRV:;IPV:NLI;SFV:NSPM;H:PH0PR13MB5447.namprd13.prod.outlook.com;PTR:;CAT:NONE;SFS:(13230040)(1800799024)(366016)(376014)(10070799003)(8096899003)(38070700018);DIR:OUT;SFP:1102;
x-ms-exchange-antispam-messagedata-chunkcount: 1
x-ms-exchange-antispam-messagedata-0: =?us-ascii?Q?ysToJVzlLlOKebGJ/M1bF79iYfKTfyzUjogV++525LvDIzskEXyxGQ+krg/2?=
 =?us-ascii?Q?eDZEB7qt2NONjMV3wxnEdpWHiXLLJVp8GDr3nJOq3SiQOhNWljripwKhXQIi?=
 =?us-ascii?Q?OmzM7tN1un0Ge6BTRr+5/DvPgs3GViT6SaQZLNxnuL9Qs06ETrHo6wzwEc82?=
 =?us-ascii?Q?yeoc+uKlhXnVv0LOd/ljOYNcA+1R2/pkJ509Wz7y9Ea2acuzqq2IRdox8MOA?=
 =?us-ascii?Q?b+Nrqmvv2ns9Ts5Vd1i6toII7m6UP6w5ttgB1NE0iH6CoGWjpSgxSHHM8EjO?=
 =?us-ascii?Q?HkycYYTZabWgNBykOkEB7I8szXEyQaylOwB6A2Lxxl7Oq9ZhrEXiIPBWA/xw?=
 =?us-ascii?Q?7xv5ImCQXYdcuIjRLp8UGxGHxJlyvHYwYd9bXHM92BcrEbBdLZfIyUZ3LvIW?=
 =?us-ascii?Q?wkqj/A6oMjYF5s26CUqYit7O/Gt3Sx0mXJqLNT8c58gaPiuqdtrzjwpNL3tp?=
 =?us-ascii?Q?MZO/PDzynMLyHyUihcERE0/e0ZrTZBARyFJwu9ZCpZYSMYptOiMYFWlz9n8c?=
 =?us-ascii?Q?YK3pcSHFGDHdHiXhs10a9dR457AdBr4CkFJn7NDJOlnT92qzSTUoZm3g1MNr?=
 =?us-ascii?Q?XfcavSuaIm9N6Dab+qdoe/cR5guOuO7tSh/0RDJ3+i9XNUtYclgE16ymfjRT?=
 =?us-ascii?Q?l4GtvYZnOIzgnMqYmZH28nwoBeva9/7ootXHmGv9X2cZRPixEUM4cOJiVnmT?=
 =?us-ascii?Q?G7jjK7Iu5jIKKe2W9qzHVNkgn2C9DuW8Qsn6c8+4U7XEEmxk7wRDbAczHZr2?=
 =?us-ascii?Q?ALkhIztiQ7M5Ww+cjCeOXjDGoc9pZJ9OgYhC2KfjpdtE+EhRQwtIRNEUnFHS?=
 =?us-ascii?Q?IiLKNyaCkb0AIz5aReMfVwYCCRxxcXs6bGOrHkQ68Bd60fpARtYb7McCKZNA?=
 =?us-ascii?Q?XiJGeDjIP8KVIFcJ2UeeSoMe784FH36yM+mcOYXmzq+PaTYSqEaBc8j+Ata/?=
 =?us-ascii?Q?cUPxyqbPA99XSnG8RX8xWFXsOqVd9ua+oBSgHT6K+zLY7GAnbF0PIbV6SM0v?=
 =?us-ascii?Q?npqVKi+gY8gfoRkV6fe4TiR8sBT0km5K/0TqtufglswbpIrrlm/cKTGxkBSA?=
 =?us-ascii?Q?yhp1xItTgWdYQLC72wuL3GXsc0/jBBFwAXGKkwQMrGW1K36hiOiompyVdanO?=
 =?us-ascii?Q?xmTlPhXPT0X2CdBp9JeKrGr/nOfNM/X5B5jfXQnCXYFjc82kwJ9WOTUpGIQ0?=
 =?us-ascii?Q?o5oagjcmJy8U7EbCccChD8DHV7DCEHdaq3Tqs7cVJKwukWOxmNA9s8HhNUZn?=
 =?us-ascii?Q?gdRGSbzBaS3aGsHNtAZ/ju9n/nQqCA2P3/KyqGpsMDEr9eOCuPcCOQT6qR2+?=
 =?us-ascii?Q?Rm/+QPMHYokW70hI1cy1Tnv2wgX8zuw8ugztdqZ7iryu3gPrqhG5qTA3RsNB?=
 =?us-ascii?Q?0+JYyn/Z7LKSSymSGcNUff6xqc0xYUdJ+8an0ruaRt4yLiz1f6Nd07V2QUsp?=
 =?us-ascii?Q?x3e2AyeRuLcRyfShskGFct7tjqZ47/0Vt12W0nM6xXGLNp0Rk/HLp2HhlInN?=
 =?us-ascii?Q?GNf08R2kvWFYOAYbXM5j92segckSFryFm6I/uvSizUeH1+V7FGI6l7SC0fl7?=
 =?us-ascii?Q?OH0permDzC/wcUBvKge09QrZUz/QtQaIVnnbi2E+uWU3T1LHkUJlAK57Qt6n?=
 =?us-ascii?Q?zjK0hGmmhrxhxlm53ic1mdFqCavnVCeh3JuF5mTW6X1WyQWFB1HQHdpoOLZ0?=
 =?us-ascii?Q?DbWm6A=3D=3D?=
Content-Type: multipart/mixed;
 boundary="_010_PH0PR13MB54470656266F17F7304D9BE4BB3F2PH0PR13MB5447namp_"
MIME-Version: 1.0
X-OriginatorOrg: employeejustice.com
X-MS-Exchange-CrossTenant-AuthAs: Internal
X-MS-Exchange-CrossTenant-AuthSource: PH0PR13MB5447.namprd13.prod.outlook.com
X-MS-Exchange-CrossTenant-Network-Message-Id: 76688deb-5f52-4a57-8348-08dd1ae5d4a4
X-MS-Exchange-CrossTenant-originalarrivaltime: 12 Dec 2024 19:47:37.3342
 (UTC)
X-MS-Exchange-CrossTenant-fromentityheader: Hosted
X-MS-Exchange-CrossTenant-id: 6dbeff0e-b35f-4bdd-aac0-078628d584a3
X-MS-Exchange-CrossTenant-mailboxtype: HOSTED
X-MS-Exchange-CrossTenant-userprincipalname: MQE6kRejL/eDM1vxMq1njhaEBgJULhPqKZ74anUgqOFtJeq+RJJxznHAnZNQ0oAgqKXdIB873k8MVJmhlSUtrWmf489dLxAZFKKvwWvT+/M=
X-MS-Exchange-Transport-CrossTenantHeadersStamped: CO6PR13MB6029
